                 Case 2:21-mj-05270-DUTY Document 3 Filed 11/17/21 Page 1 of 2 Page ID #:3

                                                                                                                          ~" ~~E~

          AO M2 (Rev. 1 Ill 1) Am;at Wurant

                                                                                              12~ ~`
                                                  UNITED STATES DISTRICT COUR'~~n ~t~ ~ ~ Pik
                                                                              for the                                       _     ~   ~ 4 .' ~ti.~i

                                                                      District ofColumbia                                       '_~' ~'`~`
                                                                                     21-MJ-05270
                            United States ofAmerica
                                       v.
                                                                                ~       Case No.1:21-cr-246
                                Edward Badalian                                         Assign to: Judge Amy B. Jackson
                                                                                        Description: SUPERSEDING INDICTMENT(B)
                                                                                        Case Related to 21-cr-246(ABJ)
                                     Dejrnd~l

                                                                ARREST WARRANT
         To:       Any authorized law enforcement officer

                  YOU ARE COMMANDED to amst and bring before a United States magistratejudge without unnecessary delay
        (iwnee ojpersn~ ~o be arresre~        Edward Bedeli8n                                                                                         ,
         who is accrued ofan offense a violation based on the following document filed with the court:

             Indictrnrnt          Q Superseding Indictment            O lnfo~mation         O Superseding Information           O Complaint
         O Probation Violation Petition             O Supervised Release Violation Petition          O Violation Notice O Order ofthe Court
    e
    1    This oti'ense is briefly described as follows:
            :
            ~ u.s.c.;s» ~co~ry
             ~a u.s.e. ~ ~s~2(exz)(obstnrcion ocaa otTicial Proeeeains aaa nidin6 ana nbettinal
             li U.SC. ~ 1512(cXl)(Tampering with Docmnents or Proceedings)
             li U.S.C. ~ 1752(ax 1)(Enterin6 and Remaining in a Re~ricted Building or Growida)



                                                                                                                  Zia M.Faruqui
                                                                                              ~~                  2021.11.1012:58:19
         Dave:         11Norzo21                                                                                  -05'00'
                                                                                                      lining ogTcerssJgnotrn

         City and state:      Washington, DC                                             Zia M. Faru4ui, United SteEes Ma~istrete Jude
                                                                                                       PrlMed nast and ~flls

                                                                            Return
                  This warrant was received on ~doa/                                and the porson was arrested on ~dorr)
          (cry and store)



                                                                                                    Anesfing o,Qicer's slgnaure



                                                                                                       Prinfed name and

f
a
        Case 2:21-mj-05270-DUTY Document 3 Filed 11/17/21 Page 2 of 2 Page ID #:4



AO 142(Rev 11/I 1) Artest W~rtaq(Pare 2)



                    Tab swoud page eonhins personal idenHtfers provided for la~v-enforcement aae only
                    and Weretore should not be tiled is wart with the ~ecnted warrant ualeas ander aal.

                                                     (Notfor Priblic Dtsclosarc)

Nerve ofdefendendoffend~r:           Edward Roman Badelian
ICttown aliases:
~~~~~d~•
Pria addresses to which defendanVoffend~r may still have ties:        ~~^0'~


Last known employment:               unknoMm
last known telephone numbers:              unknown
Place ofbirth:     unknown
Dmeofbirth:                     ~~
Social Security number:
Height:        ~~^~^                                                 Weight:       unknoym
Sex:      ~~^0M^~                                                   Race:        unknown
Hear.     unknown                                                   Eyes:        unknown
Scars. tattoos, otha~ distinguishing marks:       unknoym




History of violence, weapons, drug use:         uNcnown


IClwwri family,frie~lds, and other associates ~,~e. motion. odWiYs~ Pone maArber):   uMcnow~~


FBI number:         ~^k~OW^
Coatpkte descriprion ofauto:               Unknown
lh~lu~own
Investigative agency and address:          F81,6014th Street NW.VYashington. DC 20535


Name and telephone numbers(office and cell)of pretrial services or probation officer (jappliaoble):
WA


Date oflast contact with pretrial services or probation officer ~Iap~i~cobte):     WA
